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IN THE UNITED STATES DlSTRICT COURT

FoR THE NoRTHERN olsTRICT oF lLLINols JLLLJL 2 5 2007
Eastern Division M]éHAévL HO‘§§NOS ?
cLERK. u.s. ` -

THoMAs I)AGENAls p'ST“'°T @QURT
453 West Hanson Boulevard :

nobm, IN 46342 = CIvlL ACTIoN

Plaintifl’
z O7CV41 98
v. : JUDGE GOTTSCHALL

ELGIN, JoLIET AND EASTERN MAG|STRATE JUDGE NOLAN

RAILWAY COMPANY
clo National Registered Agents, lnc.

200 West Adams Street : JURY TRIAL DEMANDED
Chicago, IL 60606 '
Defendant
COMPLAINT
l. The Plaintifl`, Thomas Dagenais, is a competent adult individual residing at 453

West Hanson Boulevard, Hobart, IN 46342.

2. The Defendant, Elgin, Joilet and Eastem Railway Company (EJE) is a Delaware
corporation doing business in the State of Illinois and whose address for service of process is c/o
National Registered Agents, Inc., 200 West Adams Street, Chicago, Il, 60606.

3. This suit is brought pursuant to an Act of Congress known as the Federal
Employers’ Liability Act (FELA), 45 U.S.C. Secs. 51-60; the Federal Safety Appliance Acts, 45
U.S.C. Secs. l-l 6; and the Boiler Inspection Acts, 45 U.S.C. Secs. 22-34, which Act grants this
Court jurisdiction over this action.

4. At all times material hereto, the Defendant, EJE, was engaged in interstate
commerce as a common carrier by rail, and for the purpose hereof did operate a line and system
of railroads, and transacted substantial business throughout the state of Illinois and other states

throughout the United States.

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5. At the time and place hereinafter mentioned, the acts of omission and commission
causing injuries to the PlaintilT was done by the Defendant, its agents, servants, workmen and/or
employees acting in the course and scope of their employment with and under the direct and
exclusive control of the Defendant.

6. At the time and place hereinafter mentioned, the Plaintiff was employed by the
Defendant railroad, and at all times relevant hereto was acting in the course and scope of his
employment with Defendant, and was engaged in the furtherance of interstate commerce within
the meaning of the FELA.

7. All of the property, equipment and operations involved in this matter were, at all
times relevant hereto, owned and/or under the direct and exclusive control of the Defendant, its
agents, servants, workmen and/or employees

8. The Plaintiff has been employed by the Def`endant from 1976 to the present as a
trackmanfmechanic and, while working within the course and scope of his employment, was
exposed to occupational risk factors for carpal tunnel syndrome, including but not limited to
cumulative trauma, repetition, force, vibration and awkward wrist/hand postures.

9. The injuries and disabilities of the Plaintil’f were caused, contributed to, and/or
aggravated by exposure to excessive repetitive trauma to his hands/wrists while working for the

Defendant.

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lO. Plaintiff’s injuries were directly and proximately caused in whole or part by the

negligence, carelessness and recklessness of the Defendant and its agents, servants, Workmen

and/or employees, acting in the course and scope of their employment, which negligence consisted

of:

b)

d)

failure to use ordinary care and caution to provide the PlaintiH With a safe
place to work as required by the Federal Employers' Liability Act (FELA),
45 U.S.C. Secs. 5l-60;

failure to provide Plaintifi` with a timely and adequate ergonomics program
to prevent repetitive trauma to his hands/wrists;

failure to periodically test employees such as the Plaintiff for physical
effects of repetitive trauma to the hands/wrists, and failing to take
appropriate action, including advising Plaintiff as to the test results;

failure to exercise reasonable care to adequately warn Plaintiff of the risks,
dangers and harm to which he was exposed in working with and around
repetitive trauma;

in negligently requiring and/or allowing the Plaintiff to be exposed to
unsafe levels of repetitive trauma to his hands/wrists when Defendant knew
or should have known of the risks thereof;

failure to inspect or monitor the occupational repetitive trauma in the job

duties where the Plaintiff was required to work;

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s)

h)

j)

k)

l)

p)

q)

failure to warn Plaintiff of the risk of repetitive trauma injuries as a result of
exposure to repetitive occupational trauma to the hands/wrists;

failure to provide the Plaintiff with protective equipment designed to
protect him from repetitive trauma injuries as a result of exposure to
repetitive occupational trauma to the hands/wrists;

failure to empioy safe working practices;

failure to promulgate, issue, circulate and/or enforce adequate safety rules
regarding avoiding repetitive trauma injuries, especially those to the
hands/wrists;

failure to modify or eliminate certain job duties, equipment or practices so
as to minimize or eliminate the cumulative trauma to Which the Plaintiff
would be exposed;

failure to make reasonable efforts to ascertain the risks and hazards of
repetitive trauma and repetitive trauma disorders;

failure to monitor the Plaintiti’ s work habits to determine if his work
activities placed him at risk of suffering repetitive trauma injury;

failure to comply with safety and operating rules and regulations of the
Defendant;

requiring the Plaintiif to work under hurried and/or awkward conditions;
negligence of the Defendant’s agents, servants, workmen and/or
employees;

lack of adequate manpower;

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r) negligence at law; and
s) otherwise failing to exercise due and adequate care and caution under the
circumstances

ll. As a direct and proximate result of the Defendant’s negligence, through its agents,
servants, workmen and/or employees, the Plaintifi` has been unable to attend to his usual duties
and occupation, all of Which caused substantial financial loss, wage loss, loss of future earning
capacity, all of which Will continue in the tilture.

12. As a direct and proximate result of the Defendant’s negligence, through its agents,
servants, workmen and/or employees, the Plaintiff has been and may continue to be required to
receive and undergo medical treatment and medical care, has incurred reasonable and necessary
medical expenses, all of which will continue in the future.

l3. As a direct and proximate result of the Defendant’s negligence, through its agents,
servants, workmen and/or employees, the Plaintiff has sustained pain, suifering, inconvenience
and a loss of enjoyment of life, past, present and ti.lture.

l4. As a direct and proximate result of the Defendant’s negligence, through its agents,
servants1 workmen and/or employees, the Plaintiff has sustained permanent injury and disability to
his hands and wrists, including carpal turmel syndrome, requiring surgery.

WHEREFORE, the Plaintiff demands judgment against the Defendant in an amount in
excess of ONE HUNDRED THOUSAND DOLLARS ($l 00,000.00), together with costs and

interest thereon.

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Date: 7-23 - 07

